                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN,

              Plaintiffs,

v.                                                             Case No. 16-CV-00534

PAUL FELICIAN,
PHIL SIMMERT II,
JANE AND JOHN DOE(S)
CITY OF MILWAUKEE, and
ABC INSURANCE COMPANY,

           Defendants.
________________________________________________________________________

                   DEFENDANTS’ PRETRIAL REPORT
________________________________________________________________________

     (1) Short Summary of the Facts of the Case and Theories of Defense
        This case is about whether the only two defendants in this case, former Milwaukee

Police Captain, Paul Felician (“Felician”) and Milwaukee Police Detective, Phil Simmert

(“Simmert”) exceeded the scope of the search warrant executed at two properties in May,

2010 when all animals were seized. The plaintiffs in this case, the Dragonwood

Conservancy, Inc. (“Dragonwood”), Pleguar Corporation (“Pleguar”), and Terry Cullen

(“Cullen”), are also asserting property damage due to alleged intentional, excessive, and

unreasonable damage to the four properties during the execution of the search warrants.

Plaintiffs also claim damage to or unlawful seizure of personal property, including guns,

during the execution of the search warrants. There is no claim of municipal liability



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against the City of Milwaukee. The City of Milwaukee is merely named for

indemnification purposes.

       On May 12, 2010, Simmert submitted an Affidavit and a search warrant for 2323

South 13th Street (“13th Street”) and 3443 South 17th Street (“17th Street”) (“13th/17th

Street Warrant”) to Milwaukee County Court Commissioner David Sweet. Based on

information provided to Simmert from a credible witness, Jennifer R., which included

photographs, Simmert’s own internet research, and speaking with the Department of

Natural Resources Conservation Warden, Nick Blankenheim and the assistant district

attorney, Simmert believed that endangered species, non-domesticated animals, and

dangerous animals were being kept in the City of Milwaukee. On May 12, 2010, Simmert

reviewed his Affidavit and read Wis. Stat. § 29.604 with Commissioner Sweet. The

Commissioner then consulted with another person before signing the 13th/17th Street

Warrant.

       The 13th/17th Street Warrant allowed the Milwaukee Police Department (“MPD”)

to conduct a knock warrant at 13th Street and 17th Street. The warrant authorized the

search based on violations of Wis. Stat. § 29.604, Endangered and threatened species

protected. The described objects of the search were listed on the 13th/17th Street Warrant

as: Reptiles including but not exclusive of Chinese Alligators or Chinese Crocodiles;

Pythons or Anaconda snakes; Spiders and turtles.

       The 13th/17th Street Warrant was first executed at the 13th Street property on May

12, 2010. Due to the condition of 13th Street premises, it was declared to be a public

safety hazard and health hazard and was determined to be unfit for human habitation by


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the City of Milwaukee Department of Neighborhood Services, Special Enforcement

Inspector, Erica Lewandowski, now Erica Roberts (“Roberts”).

       Due to the health and safety hazards at 13th Street it was not reasonable for MPD

officers to remain on the premises until proper safety equipment and lighting could be

brought to the scene.

       After leaving 13th Street, MPD officers went to 17th Street and executed the

13th/17th Street Warrant at 17th Street. Once inside the 17th Street property MPD officers

encountered a number of animals, including but not limited to crocodilians (alligators or

crocodiles), spiders, snakes, and turtles. While at the 17th Street property, it was relayed

to the MPD by various animal experts on scene that the animals were not in good

condition and needed to be removed from the premises. The MPD relied on the advice

and guidance of the animal experts on scene, including personnel from the Department of

Natural Resources and MADACC, when removing the animals.

       On May 13 and 14, 2010, the MPD returned to 13th Street along with numerous

animal experts to assist with the execution of the 13th/17th Street warrant. While at the

13th Street property, it was relayed to MPD by various animal experts on scene that the

animals were not in good condition and needed to be removed. All of the animals were

removed because: (1) of the legal authority of the warrant, (2) dangerous nature of the

animals, (3) safety of the community at large, (4) safety concerns for the animals based

on the conditions they were being kept in, (5) concerns for the animals because once

DNS condemned the 13th Street property as unfit for habitation, there are living animals

that cannot be left without care (Plaintiff Terry Cullen had informed investigating officers


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he was out of town for a number of weeks), and (6) in order to determine which animals

were subject to the warrant, they needed to be removed due to the manner in which they

were housed.

       A search warrant was also executed at 3401 South 16th Street (“16th Street”) and

3348 S. Kinnickinnic Avenue (“KK property”) in May of 2010. Plaintiffs are alleging

intentional, excessive, and unreasonable property damage to the four properties during

the execution of the search warrants.

       Defendants claim that any property damage that may have occurred during the

execution of the search warrants were reasonable and necessary to the execution of the

warrant. Defendants further assert that plaintiffs do not own 17th Street and therefore

cannot claim any property damage related to 17th Street. Plaintiffs have no evidence of

who caused the alleged unlawful damage and therefore, by extension, they have no

evidence that Felician or Simmert were personally involved in causing the alleged

unlawful damage.

   (2) Statement of the Issues

       1. Was it unreasonable for Felician and Simmert to seize all the animals found at
          13th Street and 17th Street given the circumstances and facts presented during
          the execution of the search warrant?

       2. Was it unreasonable for MPD officers to seize personal property, including
          guns, found at the properties given the circumstances and facts presented
          during the execution of the search warrant?

       3. In terms of damage to 13th Street during the execution of the search warrant:




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      a. Did Felician personally and intentionally cause excessive damage
         during the execution of the search warrant at 13th Street?
      b. Did Felician witness Simmert about to use excessive force during the
         execution of the search warrant at 13th Street and did Felician have a
         reasonable opportunity to stop Simmert?
      c. Did Simmert personally and intentionally cause excessive damage
         during the execution of the search warrant at 13th Street?
      d. Did Simmert witness Felician about to use excessive force during the
         execution of the search warrant at 13th Street and did Simmert have a
         reasonable opportunity to stop Felician?


4. In terms of damage to 16th Street during the execution of the search warrant:

      a. Did Felician personally and intentionally cause excessive damage
         during the execution of the search warrant at 16th Street?
      b. Did Felician witness Simmert about to use excessive force during the
         execution of the search warrant at 16th Street and did Felician have a
         reasonable opportunity to stop Simmert?
      c. Did Simmert personally and intentionally cause excessive damage
         during the execution of the search warrant at 16th Street?
      d. Did Simmert witness Felician about to use excessive force during the
         execution of the search warrant at 16th Street and did Simmert have a
         reasonable opportunity to stop Felician?

5. In terms of damage to the KK property during the execution of the search
   warrant:

      a. Did Felician personally and intentionally cause excessive damage
         during the execution of the search warrant at the KK property?
      b. Did Felician witness Simmert about to use excessive force during the
         execution of the search warrant at the KK property and did Felician
         have a reasonable opportunity to stop Simmert?
      c. Did Simmert personally and intentionally cause excessive damage
         during the execution of the search warrant at the KK property?




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          d. Did Simmert witness Felician about to use excessive force during the
             execution of the search warrant at the KK property and did Simmert
             have a reasonable opportunity to stop Felician?
   6. In terms of damage to 17th Street during the execution of the search warrant:

         a. Did Felician personally and intentionally cause excessive damage
            during the execution of the search warrant at 17th Street?
         b. Did Felician witness Simmert about to use excessive force during the
            execution of the search warrant at 17th Street and did Felician have a
            reasonable opportunity to stop Simmert?
         c. Did Simmert personally and intentionally cause excessive damage
            during the execution of the search warrant at 16th Street?
         d. Did Simmert witness Felician about to use excessive force during the
            execution of the search warrant at 17th Street and did Simmert have a
            reasonable opportunity to stop Felician?

   7. In terms of damage to personal property seized during the execution of the
      search warrant:

         a. Did Felician personally and intentionally cause damage to personal
            property seized?
         b. Did Felician witness Simmert about to intentionally cause damage to
            personal property and did Felician have a reasonable opportunity to stop
            Simmert?
         c. Did Simmert personally and intentionally cause damage to personal
            property seized?
         d. Did Simmert witness Felician about to intentionally cause damage to
            personal property and did Simmert have a reasonable opportunity to
            stop Felician?

(3) Names and Addresses of All Witnesses Expected to Testify

   The defendants may call the following individuals as witnesses on their behalf:

   1. Paul Felician - may be contacted through Defendants’ counsel

   2. Phil Simmert- may be contacted through Defendants’ counsel



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3. Terry Cullen – may be contacted through Plaintiffs’ counsel

4. Jane Flint – may be contacted through Plaintiffs’ counsel

5. Erica Roberts- may be contacted through Defendants’ counsel

6. Jay Unora- may be contacted through Defendants’ counsel

7. Jaimie Arce (formerly Hewitt) - may be contacted through Defendants’ counsel

8. Ivan Wick- may be contacted through Defendants’ counsel

9. Steven J. Weinkauf- may be contacted through Defendants’ counsel

10. Perry J. Bertoni- may be contacted through Defendants’ counsel

11. Salvatore Santoro, Jr. - may be contacted through Defendants’ counsel

12. James Krause- may be contacted through Defendants’ counsel

13. Leonard M. Kreil- may be contacted through Defendants’ counsel

14. Steven J. Bukowski- may be contacted through Defendants’ counsel

15. Richard A. Kaiser- may be contacted through Defendants’ counsel

16. Richard O. Matiszik- may be contacted through Defendants’ counsel

17. Daniel T. Disimile- may be contacted through Defendants’ counsel

18. Ryan T. Venne- may be contacted through Defendants’ counsel

19. Troy Klemstein- may be contacted through Defendants’ counsel

20. Justin D. Fullington- may be contacted through Defendants’ counsel

21. Peter Laritson - may be contacted through Defendants’ counsel; may be called

   as a foundation witness if any DNS photographs are challenged by plaintiffs.

22. Expert Witness - Sean Perry




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       23. Rebuttal Witness – Ryan Ranker - may be contacted through Defendants’

           counsel

       24. Records custodian—Milwaukee Police Department

       25. Any witness listed on Plaintiffs’ witness list

       26. A witness to provide foundation for any documents whose authenticity is

           challenged by plaintiffs.

   (4) Expert Witnesses

       Defendants will be calling Dr. Sean Perry as an expert witness. Dr. Perry will offer

   opinions pertinent to plaintiffs’ claimed damages related to the seizure of the animals

   seized in this case. In particular, Dr. Perry may testify as to the factors necessary to

   ensure breeding of reptiles at issue in this case, the value of breeding the type of

   animals seized in this case, the market value of the animals seized and may offer

   opinions consistent with the reports he has generated in this case that have been

   provided to plaintiffs’ counsel.


   (5) List of Exhibits to be Offered at Trial

   The defendants may rely upon some of the documents identified by the plaintiff as

exhibits in the trial of this case, or may introduce them separately if not offered by the

plaintiff. In particular, or in addition to these exhibits, the defendants may submit the

following as exhibits:

   1001       May 12, 2010 Search Warrant for 13th Street and 17th Street (“13th/17th
              Street Warrant”) issued by the Honorable David M. Sweet and Affidavit
              supporting this search warrant by Detective Phil Simmert.


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1002       Search Warrant for 16th Street and Affidavit supporting this search warrant.

1003       Search Warrant for the KK property and Affidavit supporting this search
           warrant.

1004       Police reports authored by Detective Phil Simmert related the investigation
           of Terry Cullen and related to the search of plaintiffs’ properties.

1005       Police reports authored by Police Officer Ivan Wick related the
           investigation of Terry Cullen and related to the search of plaintiffs’
           properties.

1006       MPD police reports related to the investigation of Terry Cullen and related
           to the search of plaintiffs’ properties.

1007       DNS Emergency Placard Order for 13th Street.

1008       DNS 30-Day Orders for 13th Street; there were two.

1009       DNS file, including notes, for 13th Street and 17th Street.

1010       DNS photographs from 13th Street and 17th Street.

1011       MPD photographs from 13th Street, taken during the May, 2010 execution
           of the search warrant.

1012       MPD photographs from 16th Street, taken during the May, 2010 execution
           of the search warrant.

1013       MPD photographs from the KK property, taken during the May, 2010
           execution of the search warrant.

1014       MPD photographs from 17th Street, taken during the May, 2010 execution
           of the search warrant.

1015       Group Exhibit - Photographs from 13th Street, taken on August 21, 2020.


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1016    Group Exhibit - Photographs from 16th Street, taken on August 21, 2020.

1017    Group Exhibit - Photographs from KK property, taken on August 21, 2020.

1018    Group Exhibit - Photographs from 17th Street, taken on August 21, 2020.

1019    MPD video of execution of search warrant at 13th Street.

1020    Notice of Injury, signed by Terry Cullen and others on September 8, 2010.

1021    MPD file of Terry Cullen’s complaint about police in 2010.

1022    MPD audio-recorded interview of Terry Cullen regarding his complaint
        about police in 2010.

1023    Tax returns for Plaintiff Pleguar Corporation.

1024    Tax returns for Plaintiff Dragonwood Conservancy, Inc.

1025    Tax returns for Plaintiff Terry Cullen.

1026    Articles of Incorporation for Dragonwood, and updates.

1027    Unrecorded Quit Claim of 17th Street, dated 11/22/05, and envelope.

1028    Warranty Deed for 13th Street

1029    Quit Claim Deed for 16th Street.

1030    Warranty Deed for 17th Street.

1031    Mortgage for 17th Street, 4/12/12.

1032    Recorded Deed for KK property.

1032    Milwaukee Code of Ordinances (“MCO”) 78-5-1, in effect in May, 2010.


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   1033      MCO 78-23-23-1-a, in effect in May, 2010.

   1034      MCO 78-1-13-a-1, in effect in May, 2010.

   1035      13th Street Skeletal Warrant and supporting Affidavit.

   1036      MPD SOP 3/560 Property

   1037      MPD SOP 3/970 Confidential Informants/Search Warrants

   1038      Repair Estimates for 13th Street, 16th Street, KK property, and 17th Street.

   1039      Property record card for 13th Street, 16th Street, KK property, and 17th
             Street.

   1040      Kenosha Police reports pertinent to Erik Katz.

   1041      MFD reports from responding to 13th Street, 16th Street, KK property, and
             17th Street in May, 2010.
   1042      Deposition Transcript of Jane Flint in Flint v. City of Milwaukee, et al,
             Eastern District of Wisconsin Case No. 14-CV-333.



      (6) Designation of All Depositions or Portions of Transcripts or Other
      Recordings of Depositions To be Read into the Record or Played at Trial as
      Substantive Evidence

      At this time, the defendants may read portions of deposition testimony of various

witnesses or parties for the purpose of impeachment or rehabilitation. They are not now

aware of any unavailable witness at this time, but do reserve the right to record the

testimony of any unavailable witness for use at the trial, should a witness become

unavailable between now and the beginning of the trial.

   (7) Estimate of Time Needed to Try the Case

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      The matter should be tried to completion in 8 days. The defendants anticipate that

counsel for the parties will continue to confer as to certain stipulations in an effort to

expedite the trial of this matter.

      The parties did confer about the following matters. Defendants hope to be able to

present a stipulation as to the following, as soon as practical:

  1. Plaintiffs agree to not mention the City of Milwaukee as a defendant or party in

      this case; they agree not to mention the City of Milwaukee or taxpayers as paying

      any judgment in this case. Plaintiffs further agree to keeping the City of

      Milwaukee off any Verdict submitted to the jury.

  2. Plaintiffs agree not to introduce any evidence or elicit any testimony pertaining to

      any complaints made or disciplinary action taken against any Milwaukee police

      officer, including, but not limited to, defendants Felician and Simmert.

  3. Plaintiffs agree that permitting of animals is not an issue in this case. Plaintiffs

      stipulate to not calling any witness to testify as to permitting and plaintiffs will not

      elicit any testimony as to the issue of permitting, as long as defense counsel does

      not elicit any testimony or put in any evidence regarding permitting. Defendants

      agree not to elicit testimony or put in any evidence pertaining to the permitting of

      animals. Plaintiffs specifically agree not to call Alan Shoemaker, Andrew Badie,

      Analise Lindborg as witnesses in this case.




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   4. Plaintiffs specifically agree not to call Erin Blakely Klotz as a witness and they

      further agree not to call any gas utility serviceman or water utility serviceman as

      witnesses at trial.

   5. Defendants agree not to introduce any evidence or elicit any testimony pertaining

      to gynecological books found and/or recovered from the plaintiffs’ properties.

   6. Defendants agree that neither Felician, nor Simmert will attempt to find

      information about potential jurors that is not publically available, specifically,

      defendants agree that Felician and Simmert will not use any law enforcement

      search engine to obtain information on potential jurors, nor will Felician and

      Simmert elicit anyone else to use any law enforcement search engine to obtain

      information on potential jurors. Defendants are formally stipulating to this due to

      plaintiffs’ request, though defendants would never have used or caused someone

      else to use any law enforcement search engine in this fashion. This stipulation

      does not prevent defense counsel or staff for defense counsel to conduct research

      on potential jurors based on information publically available.



   (8)(a) Proposed Voir Dire Questions:

      The defendants submit the proposed voir dire questions which are attached hereto

as Attachment A.

   (8)(b) Proposed Jury Instructions on Substantive Issues




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       The defendants propose jury instructions, filed separately, drawn from the Federal

Civil Jury Instructions of the Seventh Circuit, or upon the substantive federal law; as

noted by the Committee on Federal Civil Jury Instructions for the Seventh Circuit, “No

trial judge is required to use them, and the Committee, while hopeful that they will

provide an effective template in most trials, strongly recommends that each judge review

the instructions to be sure each fits the case on trial [and…t]he instructions were drafted

with the expectation that certain modifications will be made routinely.”

(8)(c) Proposed Verdict Form

       The defendants submit as the proposed verdict to be provided to the jury at the

close of the trial in the above-captioned case the material attached hereto as Attachment

B.


       Dated and signed at Milwaukee, Wisconsin this 26th October, 2020.

                                                 TEARMAN SPENCER
                                                 City Attorney

                                                 s/ HEATHER HECIMOVICH HOUGH
                                                 Assistant City Attorney
                                                 State Bar No. 1092637

                                                 JENNY YUAN
                                                 Assistant City Attorney
                                                 State Bar No. 1060098
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ATTACHMENT A




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               DEFENDANTS’ PROPOSED VOIR DIRE QUESTIONS


       1.     Have you read anything about this lawsuit or heard anything about it on the

radio or on television? If so, would that coverage or commentary influence you in your

consideration of the evidence of this case?


       2.     Do you have any feelings, whether strongly positive or strongly negative,

towards the City of Milwaukee Police Department? If so, would those feelings influence

your consideration of the evidence of this case?


       3.     Have you or any members of your family had any police training? If so, what

was the nature and extent of that training?


       4.     Are you or members of your family familiar with the locations of (1) 2319-

2323 South 13th Street, (2) 3443 South 17th Street, (3) 3401 South 16th Street, or (4) 3348

South Kinnickinnic Avenue, in the City of Milwaukee?


       5.     Have you or a member of your immediate family ever made a claim against

any law enforcement department? Please briefly explain.

       6.     Have you or any member of your family or close friend had any unpleasant

experience or encounter with any police officer?

       7.     Is there anything about the nature of this case that may make it difficult for

you to sit on the jury?


       8.     Have any of the prospective jurors or jurors’ family members had any legal




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training? If so, what was the nature and extent of the training?


       9.      Have you, or any of your family or friends, ever been detained by a law

enforcement officer? If yes, please identify who has been detained and describe the

circumstances of the detention.


       10.     Have you, or do you have any family or friends who have been to jail or

prison? If yes, please describe the relationship you have with said person(s).


       11.     Do you believe people in prison sometimes approach law enforcement with

information pertaining to other people/cases in hopes of reducing their sentences?


       12.     Do you believe that people will sometimes lie to law enforcement officers

in an effort to shift any possible criminal responsibility from themselves to some other

person?




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ATTACHMENT B




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                 DEFENDANTS’ PROPOSED SPECIAL VERDICT


                                       Claim No. 1
                            Exceed Scope of Search Warrant
QUESTION NO. 1:
        Did any of the following defendant officers act unreasonably when all the animals
were seized, in light of the circumstances facing the defendant officers at 13th Street and
17th Street?
     A. Paul Felician

              Answer: _____ Yes ____ No
     B. Phil Simmert

              Answer: _____ Yes ____ No
       If you answered “no” to all parts of Question No. 1, then you need not answer

Question No. 2. However, if you have answered “yes” to any two parts of Question No.

1, then answer Question No. 2:

QUESTION NO. 2:

       What amount of money, if any, do you award to fairly and reasonably compensate

the Plaintiff, the Dragonwood Conservancy, Inc., for the animals being seized?

                                                         Answer: $________________
                                                                      (Amount)

       What amount of money, if any, do you award to fairly and reasonably compensate

the Plaintiff, Terry Cullen, for the animals being seized?

                                                         Answer: $________________
                                                                      (Amount)




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QUESTION NO. 3:
       Did any of the following defendant officers act unreasonably when personal
property was seized, including guns, in light of the circumstances facing the defendant
officers at 13th Street, 17th Street, 16th Street, and the KK property?
     A. Paul Felician

              Answer: _____ Yes ____ No
     B. Phil Simmert

              Answer: _____ Yes ____ No
       If you answered “no” to all parts of Question No. 3, then you need not answer this

question. However, if you have answered “yes” to any two parts of Question No. 3, then

answer this question:

QUESTION NO. 4:

       What amount of money, if any, do you award to fairly and reasonably compensate

the Plaintiff, Terry Cullen, for personal property being seized?

                                                        Answer: $________________
                                                                      (Amount)

       What amount of money, if any, do you award to fairly and reasonably compensate

the Plaintiff, the Pleguar Corporation, for personal property being seized?

                                                        Answer: $________________
                                                                      (Amount)




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QUESTION NO. 5
        Did any of the following defendant officers act unreasonably when personal
property was damaged, in light of the circumstances facing the defendant officers at 13th
Street, 17th Street, 16th Street, and the KK property?
     A. Paul Felician

             Answer: _____ Yes ____ No
     B. Phil Simmert

             Answer: _____ Yes ____ No
      If you answered “no” to all parts of Question No. 5, then you need not answer

Question No. 6. However, if you have answered “yes” to any two parts of Question No.

5, then answer Question No. 6:

QUESTION NO. 6:

      What amount of money, if any, do you award to fairly and reasonably compensate

the Plaintiff, Terry Cullen, for personal property being damaged?

                                                       Answer: $________________
                                                                     (Amount)




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                                       Claim No. 2
                           Unreasonable Search of the Properties
QUESTION NO. 7:
      Did any of the following defendant officers personally and intentionally act
unreasonably during the execution of the search warrant at 13th Street in light of the
circumstances facing the defendant officers at 13th Street?
     A. Paul Felician

               Answer: _____ Yes ____ No
     B. Phil Simmert

               Answer: _____ Yes ____ No
QUESTION NO. 8:

       Did any of the following defendant officers fail to intervene to prevent another

defendant officer from acting unreasonably during the execution of the search warrant at

13th Street?

     A     Paul Felician
               Answer: _____ Yes ____ No
     B. Phil Simmert
               Answer: _____ Yes ____ No
       If you answered “no” to all parts of Question No. 7 and 8, then you need not

answer Question No. 9. However, if you have answered “yes” to any part of Questions

No. 7 and 8, then answer Question No. 9:




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QUESTION NO. 9:

       What amount of money, if any, will compensate the Pleguar Corporation for any

damages caused by the unreasonable execution of the search warrant at 13th Street?

               $______________________________

                     (Amount)

QUESTION NO. 10:
      Did any of the following defendant officers personally and intentionally act
unreasonably during the execution of the search warrant at 16th Street in light of the
circumstances facing the defendant officers at 16th Street?
     A. Paul Felician

               Answer: _____ Yes ____ No
     B. Phil Simmert

               Answer: _____ Yes ____ No
QUESTION NO. 11:

     Did any of the following defendant officers fail to intervene to prevent another

defendant officer from acting unreasonably during the execution of the search warrant at

16th Street?

     A     Paul Felician
               Answer: _____ Yes ____ No
     B. Phil Simmert
               Answer: _____ Yes ____ No




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      If you answered “no” to all parts of Question No. 10 and 11, then you need not

answer Question No. 12. However, if you have answered “yes” to any two parts of

Question No. 10 and 11, then answer Question No. 12:

QUESTION NO. 12:

      What amount of money, if any, will compensate the Pleguar Corporation for any

damages caused by the unreasonable execution of the search warrant at 16th Street?

                                                       Answer: $________________
                                                                     (Amount)

QUESTION NO. 13:
      Did any of the following defendant officers personally and intentionally act
unreasonably during the execution of the search warrant at the KK property in light of the
circumstances facing the defendant officers at the KK property?
     A. Paul Felician

              Answer: _____ Yes ____ No
     B. Phil Simmert

              Answer: _____ Yes ____ No
QUESTION NO. 14:

     Did any of the following defendant officers fail to intervene to prevent another

defendant officer from acting unreasonably during the execution of the search warrant at

the KK property?

     A     Paul Felician
              Answer: _____ Yes ____ No
     B. Phil Simmert

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               Answer: _____ Yes ____ No
       If you answered “no” to all parts of Question No. 13 and 14, then you need not

answer Question No. 15. However, if you have answered “yes” to any two parts of

Question No. 13 and 14, then answer Question No. 15:

QUESTION NO. 15:

       What amount of money, if any, will compensate Terry Cullen for any damages

caused by the unreasonable execution of the search warrant at the KK property?

                                                        Answer: $________________
                                                                      (Amount)

QUESTION NO. 16:
      Did any of the following defendant officers personally and intentionally act
unreasonably during the execution of the search warrant at 17th Street in light of the
circumstances facing the defendant officers at 17th Street?
     A. Paul Felician

               Answer: _____ Yes ____ No
     B. Phil Simmert

               Answer: _____ Yes ____ No
QUESTION NO. 17:

     Did any of the following defendant officers fail to intervene to prevent another

defendant officer from acting unreasonably during the execution of the search warrant at

17th Street?

     A     Paul Felician
               Answer: _____ Yes ____ No

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     B. Phil Simmert
             Answer: _____ Yes ____ No
      If you answered “no” to all parts of Question No. 16 and 17, then you need not

answer Question No. 18. However, if you have answered “yes” to any two parts of

Question No. 16 and 17, then answer Question No. 18:

QUESTION NO. 18:

      What amount of money, if any, will compensate the Pleguar Corporation for any

damages caused by the unreasonable execution of the search warrant at 17th Street?

                                                       Answer: $________________
                                                                   (Amount)

                                  Punitive Damages


QUESTION NO. 19:


      What amount of money, if any, do you award as punitive damages against any of

the following officers?


     A. Paul Felician

             $______________________________


     B. Phil Simmert

                $______________________________


                                 ___________________________

                                        FOREPERSON

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